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                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF DELAWARE

UNITED STATES OF AMERICA,                     )
                                              )
                       Plaintiff,             )

               V.                             j CriminalActionNo. io- oq - U~D(
                                              )
BRIAN MARK LEMLEY, JR., and                   )


                                             I ~@&~(g@
PATRIKJORDANMATHEWS

                       Defendants.

                                         INDICTMENT

        The Grand Jury for the District of Delaware charges that:                   JAN 2 8 2020

                                          COUNT ONE

        On or about November 4, 2019, in the District of Delaware and elsewhere, the defendant,

                                BRIAN MARK LEMLEY, JR.,

knowing and in reckless disregard of the fact that a certain alien, namely, PATRIK JORDAN

MATHEWS, had come to, entered, and remained in the United States in violation of law, did

transport and move, and did attempt to transport and move said alien within the United States by

means of transportation and otherwise, in furtherance of such violation of law, all in violation of

8 U.S.C. §§ 1324(a)(l)(A)(ii) and 1324(a)(l)(B)(ii).

                                         COUNT TWO

       From on or about November 4, 2019, continuing through on or about January 16, 2020, in

the District of Delaware arid elsewhere, the defendant,

                                BRIAN MARK LEMLEY, JR.,

knowing and in reckless disregard of the fact that an alien, namely, PATRIK JORDAN

MATHEWS, had come to, entered, and remained in the United States in violation of law, did


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conceal, harbor, and shield from detection, and did attempt to conceal, harbor, and shield from

detection, said alien in buildings and other places and any means of transportation, all in violation

of 8 U.S.C. §§ 1324(a)(l)(A)(iii) and 1324(a)(l)(B)(ii).

                                        COUNT THREE

       From on or about November 28, 2019, through on or about January 4, 2020, and again on

or about January 16, 2020, in the District of Delaware and elsewhere, the defendants,

                                BRIAN MARK LEMLEY, JR., and
                                 PATRIKJORDAN MATHEWS,

knowing that PATRIK JORDAN MATHEWS was an alien illegally and unlawfully in the

United States, did knowingly possess firearms and ammunition, that is one (1) green and black

5.56 caliber assault rifle with no serial number, one (1) Springfield Arms MIA 6.5 Creedmoor

Rifle (serial number U242648), and miscellaneous ammunition, and the firearms and ammunition

were in and affecting interstate commerce, all in violation of 18 U.S.C. §§ 922(g)(5)(A) and

924(a)(2), and 18 U.S.C. § 2.

                                         COUNTFOUR

       On or about January 2, 2020, in the District of Delaware and elsewhere, the defendants,

                                BRIAN MARK LEMLEY, JR., and
                                 PATRIK JORDAN MATHEWS,

did knowingly possess a machinegun as defined in 18 U.S.C. § 921(a)(23), that is, one (1) green

and black 5.56 caliber assault rifle with an attached scope, all in violation of 18 U.S.C. §§ 922(0)

and 924(a)(2), and 18 U .S.C. § 2.

                                          COUNT FIVE

       On or about January 2, 2020, in the District of Delaware and elsewhere, the defendants,

                                BRIAN MARK LEMLEY, JR., and
                                 PATRIK JORDAN MATHEWS,


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did knowingly possess a firearm, a machine gun as defined in 26 U.S.C. § 5845(b), that is, one (1)

green and black 5.56 caliber assault rifle with an attached scope, not registered to the defendants

in the National Firearms Registration and Transfer record, all in violation of26 U.S.C. §§ 5841,

5861(d), and 5871, and 18 U.S.C. § 2.

                                           COUNT SIX

        On or about January 16, 2020, in the District of Delaware, the defendants,

                               BRIAN MARK LE:MLEY, JR., and
                                PATRIK JORDAN MATHEWS,

did knowingly alter, destroy, mutilate, conceal, and cover up a record and tangible object, that is,

one (1) cellular telephone device assigned International Mobile Equipment Identity ("IMEI")

number 354640101041007 and one (1) cellular telephone device assigned IMEI number

01541600044 7251, with the intent to impede, obstruct, and influence the investigation and proper

administration of a matter that the defendant knew and contemplated was within the jurisdiction

of the Department of Justice, Federal Bureau of Investigation, a department and agency of the

United States, in violation of Title 18, United States Code, Section 1519.

                NOTICE OF FORFEITURE FOR COUNTS ONE AND TWO

        Upon conviction of the offenses alleged in Counts One and Two of this Indictment, the

defendants, BRIAN MARK LEMLEY, JR., and PATRIK JORDAN MATHEWS, shall forfeit

to the United States pursuant to 18 U.S.C. § 982(a)(6), 8 U.S.C. § 1324(b), and 28 U.S.C. § 2462,

any conveyance, including any vessel, vehicle, and aircraft, that has been and is being used in the

commission of such offenses; the gross proceeds of such offenses; any property traceable to such

conveyance and proceeds; and any property real or personal that is used to facilitate, and is

intended to be used to facilitate, the commission of the offenses.




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              NOTICE OF FORFEITURE FOR COUNTS THREE AND FOUR

       Upon conviction of the offenses alleged in Counts Three and Four of this Indictment, the

defendants, BRIAN MARK LEMLEY, JR., and PATRIK JORDAN MATHEWS, shall forfeit

to the United States pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c), all firearms and

ammunition involved in the commission of the offense, including, but not limited to: one (1) green

and black 5.56 caliber assault rifle with no serial number, one (1) Springfield Arms MIA 6.5

Creedmoor Rifle (serial number U242648), and miscellaneous ammunition.

                       NOTICE OF FORFEITURE FOR COUNT FIVE

       Upon conviction of the offense alleged in Count Five of this Indictment, the defendants,

BRIAN MARK LEMLEY, JR., and PATRIK JORDAN MATHEWS, shall forfeit to the

United States pursuant to 49 U.S.C. § 80303, 26 U.S.C. § 5872, and 28 U.S.C. 2461, all firearms

involved in the commission of the offense, including, but not limited to: one (1) green and black

5.56 caliber assault rifle with no serial number.

                                                            A TRUE BILL:




                                                            Foreperson




       DAVID C. WEISS
       UNITED STATES ATTORNEY




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